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 5 Telephone: (310) 394-5900
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 6
   Attorneys for Debtor and Plaintiff
 7

 8                       UNITED STATES BANKRUPTCY COURT
 9                        CENTRAL DISTRICT OF CALIFORNIA
10                               LOS ANGELES DIVISION
11                                                    Chapter 11
     In re
12
                                                      Case No. 2:16-bk-19896-BB
13 LITE SOLAR CORP.,
                                                      Adversary No.: To Be Assigned
14                       Debtor and Debtor in
     Possession
15
   LITE SOLAR CORP., a California                     COMPLAINT:
16 Corporation,
                                                        (1) BREACH OF CONTRACT;
                  Plaintiff,                            (2) TO AVOID FRAUDULENT
17
         VS.                                                TRANSFERS;
18                                                      (3) CONVERSION;
                                                        (4) UNJUST ENRICHMENT;
19                                                      (5) MONEY HAD AND
   ENERGY WISE LIGHTING INC., an Oregon                     RECEIVED;
20 corporation, PETER GREENBERG, an
                                                        (6) ACCOUNTING
   individual, and DOES 1-100
21                    Defendants.
22

23

24 TO THE HONORABLE SHERI BLUEBOND, UNITED STATES BANKRUPTCY JUDGE;

25 THE OFFICE OF THE UNITED STATES TRUSTEE; DEFENDANTS AND THEIR

26 COUNSEL OF RECORD; AND ALL OTHER INTERESTED PARTIES:
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                                              -1-
                                           COMPLAINT
                      Case 20-03032-tmb       Doc 1    Filed 07/26/18
1           Plaintiff, Lite Solar Corp. (the “Plaintiff” or “Debtor” or “Lite Solar”), the debtor and

2    debtor-in-possession in the above-referenced chapter 11 bankruptcy case (the

3    “Bankruptcy Case”), complaining of defendants Energy Wise Lightning Inc., an Oregon

4    corporation (“Energy Wise”), Peter Greenberg (“Greenberg”) and Does 1-100, to be

5    determined. Energy Wise, Greenberg and Does 1-100 are sometimes referred to

6    collectively as the “Defendants” and individually as “Defendant”), alleges as follows:

7

8                                  I.     JURISDICTION AND VENUE

9           1.      On or about July 27, 2016 (the “Petition Date”), the Debtor filed a voluntary

10   petition under Title 11, Chapter 11 of the United States Code (the “Code”), originating this

11   Bankruptcy Case, entitled In re Lite Solar Corp., Case No. 2:16-bk-19896-BB

12   (“Bankruptcy Case”).

13          2.      This Court has jurisdiction under 28 U.S.C. §§ 157, 1132 and 1334(a) over

14   the subject matter of this proceeding because the claims asserted herein relate to a case

15   pending under the Bankruptcy Code for the Central District of California, Los Angeles

16   Division (the “Bankruptcy Court”) and Local Rules and Orders of the United States

17   District Court for the Central District of California governing the reference and conduct of

18   proceedings arising under or related to cases under Title 11 of the United States Code,

19   including General Order No. 266, dated October 9, 1984.

20          3.      This is a core proceeding under 28 U.S.C. § 157(b).

21          4.      Pursuant to 28 U.S.C. §§ 1408 and 1409, venue is proper in the Central

22   District of California, Los Angeles Division, because the Bankruptcy Case is pending in

23   this district and division.

24          5.      Pursuant to 11 U.S.C. § 544(a), the Debtor has standing to bring this

25   adversary proceeding.

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                                              COMPLAINT
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1                                             II.     PARTIES

2           6.     Plaintiff is a California Corporation who, at all times mentioned herein,

3    conducted business in, and/or had its principal place of business in, the Central District of

4    California, and is the debtor-in-possession in the Bankruptcy Case.

5           7.     Plaintiff is informed and believes, and based thereon alleges, that

6    Defendant Energy Wise is and at all times was an Oregon corporation doing business in

7    the State of Oregon and the State of California.

8           8.     Plaintiff is informed and believes, and based thereon alleges, that

9    Defendant Greenberg is and at all times was an Oregon resident, the sole owner of

10   Energy Wise and doing business in the State of Oregon and the State of California.

11                                   III.   GENERAL ALLEGATIONS

12          9.     The Debtor was formed in 2009. The Debtor’s business was the

13   development and installation of photovoltaic solar systems in several states, including the

14   State of Oregon.

15          10.        In or about November 2012, Lite Solar, LLC, which merged into the Debtor

16   in 2016, and Energy Wise entered into an agreement pursuant to which Debtor agreed to

17   design, build and install photovoltaic solar systems on carport structures that Debtor also

18   would build based on Debtor’s proprietary design (“Agreement”). The principal terms of

19   the Agreement are set forth in a certain Construction Agreement for Labor Service, dated

20   November 20, 2012. The Agreement covered seven projects, whose street addresses

21   the parties listed in the Agreement. The largest was a 200 kW solar project at the

22   Cascade Christian School, 855 Chevy Way, Medford OR 97504 (“Cascade Medford

23   Project”). The parties also agreed that another solar project would be contracted at the

24   Grace Christian School, located at 649 Crater Lake Ave., Medford, OR 97504 (“Grace

25   Medford Project”). Energy Wise agreed to pay for each solar project based on a

26   kilowatts pricing structure that considered the size of the system, type of inverters, and

27   type of panels.

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                                              COMPLAINT
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1           11.    Each of the solar systems to be built for Energy Wise would be owned by

2    Energy Wise, but would be constructed on property owned by third parties with whom

3    Energy Wise in turn had contracts and the solar systems would provide electricity to those

4    third party owners. As a result, construction did not begin immediately after execution of

5    the Agreement on November 20, 2012.

6           12.    In early 2013, Debtor was continuing to prepare the designs for the projects

7    for Energy Wise. However, Debtor is informed and believes and based thereon alleges

8    that by March 2013, Greenberg and Energy Wise began to systematically ignore the

9    obligations under the Agreement and began working directly with Patrick Schellerup

10   (“Schellerup”), Debtor’s then Regional Manager, and later Schellerup’s company,

11   Kamana O’Kala, LLC (“Kamana”), to use Debtor’s proprietary carport designs and have

12   Schellerup and Kamana build the projects for which Energy Wise had contracted for

13   Debtor to build.

14          13.    Debtor is informed and believes and based thereon alleges that on March

15   18, 2013, Greenberg knowingly and intentionally wired $10,771.20 directly to Schellerup’s

16   personal bank account at US Bank, which funds were payment towards the obligations of

17   Energy Wise to Debtor.

18          14.    Debtor was unaware of the secret, concealed plan by Greenberg and

19   Energy Wise to divert funds that should have been paid to Debtor, to ignore its obligations

20   to Debtor under the Agreement, and to work with Schellerup and Kamana to the detriment

21   of Debtor.

22          15.    By early June 2013, Debtor’s design drawings for the Cascade Medford

23   Project and Grace Christian Project were sent to Greenberg to approve.

24          16.    Debtor is informed and believes and based thereon alleges that on June 13,

25   2013, Greenberg and Energy Wise knowingly and intentionally issued a check for a

26   deposit for the Cascade Medford Project in the amount of $30,000, payable to “Lite Solar”

27   and with the notation “Medford”, but Greenberg subsequently cancelled the check and

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                                            COMPLAINT
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1    caused Energy Wise to issue a replacement made payable to Kamana for the same

2    amount.

3           17.     Debtor is informed and believes and based thereon alleges from or about

4    June 2013 through the end of 2013, Greenberg and Energy Wise acquired solar panels,

5    inverters and materials that Greenberg and Energy Wise knew or should have known

6    were owned by Debtor by paying Schellerup and/or Kamana below market prices to have

7    Schellerup and Kamana deliver Debtor’s assets to Greenberg and Energy Wise. For

8    example, in October 2013, Greenberg received an email from Oliver McKinney, an officer

9    of Debtor, regarding Debtor’s excess inventory of solar panels. In response, Greenberg

10   contacted Schellerup and arranged to acquire Debtor’s solar panels through Schellerup

11   and Kamana by paying them below market prices, all without Debtor’s knowledge and

12   without compensation to Debtor.

13                                   FIRST CLAIM FOR RELIEF

14                                    BREACH OF CONTRACT

15          18.    Plaintiff re-alleges and incorporates herein by this reference paragraphs 1

16   through 17, inclusive, of this Complaint, as though set forth fully herein.

17          19.    Pursuant to the Agreement, Debtor and Energy Wise entered into an

18   express contract, whereby the Debtor was to provide services and materials in return for

19   payment.

20          20.    Energy Wise breached the contract by, among other things, failing to pay

21   Debtor and intentionally concealing that Energy Wise was having Schellerup and Kamana

22   use Debtor’s proprietary designs as well as its solar panels, materials and equipment,

23   diverting payments due the Debtor to Schellerup and/or Kamana, and acquiring the

24   Debtor’s materials at below market prices in violation of the Agreement.

25          21.    Greenberg, as the principal responsible for the acts of Energy Wise, is

26   vicariously liable to the Debtor for the harm caused to the Debtor as the result of Energy

27   Wise’s breach of contract and misappropriation of the Debtor’s materials.

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                                              COMPLAINT
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1           22.    In the alternative, Greenberg is liable to Debtor for harm caused to the

2    Debtor as a result of the breach of contract and misappropriation committed by Energy

3    Wise, as an apparent or ostensible agent of Energy Wise.

4           23.    Debtor has performed all of its obligations under the Agreement, except for

5    those obligations the performance of which are excused by the breaches by Energy Wise.

6           24.    As the legal and proximate cause of breaches by Energy Wise, Debtor has

7    sustained and will continue to sustain substantial economic damages. The precise nature

8    and amount of such accrued and continuing damages will be proven at trial, but Debtor

9    estimates its loss to be in excess of $500,000.

10                                 SECOND CLAIM FOR RELIEF

11                         AVOIDANCE OF FRAUDULENT TRANSFERS

12          [11 U.S.C. § 544 and Civil Code §§ 3439.04(a)(2) or 3439.05 and 3439.07]

13          25.    Plaintiff re-alleges and incorporates herein by this reference paragraphs 1

14   through 24, inclusive, of this Complaint, as though set forth fully herein.

15          26.    Defendants Energy Wise and Greenberg wrongfully diverted Debtor’s

16   assets by acquiring such assets at substantially below the fair market value, and by failing

17   to compensate the Debtor in any way for the services and materials provided by Debtor.

18          27.    Each such acquisition by defendants was made without the Debtor receiving

19   a reasonably equivalent value in exchange for such transfer and: (i) at a time when the

20   Debtor was insolvent or as a result of which the Debtor became insolvent; or (ii) at a time

21   that the Debtor was engaged in a business or a transaction, or was about to engage in a

22   business or a transaction, for which any property remaining with the Debtor was an

23   unreasonably small capital; or (iii) at a time when the Debtor intended to incur, or believed

24   or should reasonably have believed that the Debtor would incur, debts that would be

25   beyond the Debtor’s ability to pay as such debts matured.

26          28.    Defendants acquired the services and materials without the Debtor’s

27   knowledge or authorization. Without limitation, the wrongful diversion of the Debtor’s

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                                              COMPLAINT
                          Case 20-03032-tmb       Doc 1    Filed 07/26/18
1    assets and funds denied the Debtor access to its main assets and funds which were

2    required to keep the Debtor’s business running.

3           29.    By virtue of the foregoing, the transfers initiated and caused by Energy Wise

4    and Greenberg constituted fraudulent transfers pursuant to 11 U.S.C. § 544 and Civil

5    Code §§ 3439.04(a)(2) or 3439.05 and 3439.07.

6                                       THIRD CLAIM FOR RELIEF

7                             RECOVERY OF AVOIDED TRANSFERS

8                                   [11 U.S.C. § 550(a)(1) and (2)]

9           30.    Plaintiff re-alleges and incorporates herein by this reference paragraphs 1

10   through 29, inclusive, of this Complaint, as though set forth fully herein.

11          31.    By reason of the foregoing, the Debtor is entitled to recover for the benefit of

12   the Estate the transfers of solar panels caused by Defendants pursuant to 11 U.S.C. §

13   550(a).

14                                 FOURTH CLAIM FOR RELIEF

15                         PRESERVATION OF AVOIDED TRANSFERS

16                                         [11 U.S.C. § 551]

17          32.    Plaintiff re-alleges and incorporates herein by this reference paragraphs 1

18   through 31, inclusive, of this Complaint, as though set forth fully herein.

19          33.    By reason of the foregoing, the avoided transfers caused by Defendant are

20   preserved for the benefit of the Estate.

21                                   FIFTH CLAIM FOR RELIEF
22                                          CONVERSION
23          34.    Plaintiff realleges and incorporates by reference the allegations contained in
24   paragraphs 1 through 33, above.
25          35.     By means of the acts alleged above, Defendants Energy Wise and
26   Greenberg each acquired money and property which rightfully belonged to the Plaintiff.
27

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                                                   -7-
                                                COMPLAINT
                          Case 20-03032-tmb        Doc 1    Filed 07/26/18
1           36.    Each Defendant used or converted the Plaintiff’s property in a manner

2    inconsistent with the Plaintiff’s property rights.

3           37.    As a result of the Defendants’ wrongful use and conversion of the Plaintiff’s

4    property, Plaintiff has been damaged in an amount to be proven at trial as a result of

5    Defendants’ actions in converting and misappropriating the Plaintiffs assets, which Debtor

6    estimates to be not less than $400,000.

7                                      SIXTH CLAIM FOR RELIEF
8                                        UNJUST ENRICHMENT
9           38.    Plaintiff realleges and incorporates by reference the allegations contained in
10   paragraphs 1 through 37, above.
11          39.     By means of the fraud and other wrongful acts alleged above, Defendants
12   Energy Wise and Greenberg each acquired money and property, with knowledge of said
13   fraudulent and wrongful acts, including specifically, and without limitation, that
14   Defendants wrongfully (a) acquired the solar systems installed by Schellerup and
15   Kamana, including without limitations the solar projects that were built for the Cascade
16   Medford Project and the Grace Medford Project (b) collected money or credits from the
17   Cascade Medford Project, the Grace Medford Project and any other project built using the
18   solar panels, material and equipment of Debtor, whether said payments and credits were
19   provided by the owners of the property on which the projects were built, the utility
20   companies or any other source and (c) received the benefit of the electrical power
21   generated by such solar system, such that each Defendant holds such funds in
22   constructive trust for Plaintiff and/or must make restitution to Plaintiff in a sum sufficient to
23   deprive Defendants of all unjust enrichment derived from such actions, sales and
24   wrongful conduct.
25          40.    Plaintiff therefore demands the imposition of a constructive trust on the solar
26   systems and all revenue generated therefrom, restitution and judgment against
27

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                                               COMPLAINT
                           Case 20-03032-tmb        Doc 1   Filed 07/26/18
1    Defendants in an amount to be determined at trial, together with interest, attorneys’ fees,

2    and the cost of this action.

3                                   SEVENTH CAUSE OF ACTION

4                                    MONEY HAD AND RECEIVED
5           41.     Plaintiff realleges and incorporates by reference paragraphs 1 through 40,
6    inclusive as though fully set forth. Defendants are indebted to Plaintiff by virtue of
7    Defendants’ possession of funds that should have been paid to Plaintiff in an amount to
8    be proven at trial.
9           42.     By virtue of this Complaint, Plaintiff makes demand each Defendant to pay
10   all amounts wrongfully retained by Defendants. No payment has been made by
11   Defendants to Plaintiff, and there is now owing a sum to be proved at trial, with interest on
12   said sum. To the extent said debt arose more than two years prior to the commencement
13   of this action, Defendants fraudulently concealed their conduct and Plaintiff was unable to
14   discover such conduct, as more fully alleged in this Complaint, such that the filing of this
15   claim for relief is timely.
16                                    EIGHTH CAUSE OF ACTION
17                                           ACCOUNTING
18
            43.     Plaintiff realleges and incorporates by reference paragraphs 1 through 42,
19
     inclusive, as though fully set forth.
20
            44.     Starting in 2013, Defendants and each of them had and have possession of
21
     Plaintiff’s solar panel inventory, equipment and materials which defendants have used for
22
     Defendants’ benefit and to the detriment of Plaintiff.
23
            45.     Defendants and each of them have realized revenue, income and profits
24
     from their wrongful sale, retention and use of Plaintiff’s solar panel inventory, equipment
25
     and materials, and all of such revenue, income and profits should be disgorged by
26
     Defendants and each of them to Plaintiff.
27

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                                                 -9-
                                              COMPLAINT
                            Case 20-03032-tmb     Doc 1       Filed 07/26/18
1           46.   Defendants and each of their misconduct has resulted in a loss to Plaintiff

2    which cannot be ascertained without an accounting.

3           47.   As a result of Defendants’ aforesaid wrongful acts and omissions, Plaintiff

4    has been injured and damaged and demands the equitable remedy of accounting.

5

6                                             PRAYER

7           WHEREFORE, Plaintiff respectfully prays for judgment against the Defendants as

8    follows:

9           1.    On the first cause of action, for compensatory damages in an amount not

10                less than $500,000 with interest thereon at the maximum legal rate

11                according to proof;

12          2.    On the second cause of action, that the transfers be avoided for the benefit

13                of the Estate;

14          3.    On the third cause of action, to recover the value of the transfers for the

15                benefit of the estate, plus interest as the maximum legal rate from the date

16                of the transfers, or such other amount as shall be shown by proof prior to

17                judgment herein;

18          4.    On the fourth cause of action, that avoided transfers are preserved for the

19                benefit of the Estate;

20          5.    On the fifth cause of action, award Plaintiff compensatory damages in an

21                amount to be determined at trial;

22          6.    On the sixth cause of action, grant Plaintiff equitable relief in the nature of

23                disgorgement, and restitution, and creating a construction trust to remedy

24                Defendants' unjust enrichment;

25          7.    On the seventh cause of action, make a determination as to the sum now

26                owing, with interest on said sum;

27          8.    On the eighth cause of action, order Defendants to make available all

28                information relating to the wrongful sale, retention and use of Plaintiff’s

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                                             COMPLAINT
                         Case 20-03032-tmb       Doc 1    Filed 07/26/18
1                 assets utilized in the avoided transfers in order than an accounting may be

2                 realized;

3          9.     On all causes of action, that the Plaintiff be awarded costs and fees

4                 incurred in connection with this action, including attorneys’ fees; and

5          10.    For such other and further relief as this Court deems just and proper.

6
     Dated: July 26, 2018                                   LESLIE COHEN LAW, PC
7
                                                            By: /s/ Leslie A. Cohen
8                                                           Leslie A. Cohen
9                                                           Attorneys for Plaintiff

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                                            COMPLAINT
                         Case 20-03032-tmb      Doc 1    Filed 07/26/18
  B1040 (FORM 1040) (12/15)

         ADVERSARY PROCEEDING COVER SHEET                                                       ADVERSARY PROCEEDING NUMBER
                                                                                                (Court Use Only)
                 (Instructions on Reverse)

PLAINTIFFS                                                                        DEFENDANTS
Lite Solar Corp.                                                                  ENERGY WISE LIGHTING INC., an Oregon
                                                                                  corporation, PETER GREENBERG, an individual, and
                                                                                  DOES 1-100
ATTORNEYS (Firm Name, Address, and Telephone No.)                                 ATTORNEYS (If Known)
Leslie Cohen Law PC
506 Santa Monica Blvd. Suite 200, Santa Monica, CA 90401
(310) 394-5900
PARTY (Check One Box Only)                               PARTY (Check One Box Only)
   Debtor                U.S. Trustee/Bankruptcy Admin                               Debtor                  U.S. Trustee/Bankruptcy Admin
   Creditor              Other                                                       Creditor                Other
   Trustee                                                                           Trustee
CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)
COMPLAINT: (1)BREACH OF CONTRACT; (2) TO AVOID FRAUDULENT TRANSFERS; (3)CONVERSION (4)
UNJUST ENRICHMENT (5)MONEY HAD AND RECEIVED; (6)ACCOUNTING



                                                                      NATURE OF SUIT
        (Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)

    FRBP 70 01( 1) – Recovery of Money/Property                                   FRBP 70 01(6) – Dischargeability (continued)
   11-Recovery of money/propert y - §542 turnover of property                        61 -Dischargeability- §523(a)(5 ), domestic support
   12-Recovery of money/property - §547 preference                                    68-Dischargeability - §523(a)(6), willful and malicious injury
   13-Recovery of money/property - §548 fraudulent transfer                           63-Dischargeability - §523(a)(8), student loan
   14-Recovery of money/property - other                                              64-Dischargeability - §523(a)(15), divorce or separation obligation
                                                                                        (other than domestic support)
   FRBP 70 01 (2) – Validity, Priority or Extent of Lien                              6 5 -Dischargeability - other
   21-Validity, priority or extent of lien or other interest in property
                                                                                  FRBP 70 01(7) – Injunctive Relief
   FRBP 7001( 3) – Approval of Sale of Property                                      71 -Injunctive relief- imposition of stay
   31-Approval of sale of property of estate and of a co-owner - §363(h)             72-Injunctive relief - other

    FRBP 7001(4 ) – Objection/ Revocation of Discharge                            FRBP 70 01(8) Subordination of Claim or Interest
   41-Objection/re vocation of discharge - §727(c),(d),(e)                           81 -Subordination of claim or interest

   FRBP 7001(5) – Revocation of Confirmation                                      FRBP 70 01(9) Declaratory Judgment
   51-Revocation of confirmation                                                     91 -Declaratory judgment

   FRBP 7001(6) – Dischargeability                                                FRBP 70 01(10) Deter mi nation of Remove d Act ion
   6 6 -Dischargeability - §523(a)(1),(14),(14A) priority tax claims                 01 -Determination of removed claim or cause
   62-Dischargeability - §523(a)(2), false pretenses, false representation,
        actual fraud                                                              Other
   67-Dischargeability - §523(a)(4), fraud as fiduciary, embezzlement, larceny       SS-SIPA Case - 15 U.S.C. §§78aaa et.seq.
                                                                                     02-Other (e.g. other actions that would have been brought in state court
                      (continued next column)                                           if unrelated to bankruptcy case)

   Check if this case involves a substantive issue of state law                     Check if this is asserted to be a class action under FRCP 23
   Check if a jury trial is demanded in complaint                Demand $ TBD
Other Relief Sought
Converstion, Unjust Enrichment, Money Had and Received, Accounting




                                                                                                                                     American LegalNet, Inc.
                                                                                                                                     www.FormsWorkFlow.com
                                              Case 20-03032-tmb                  Doc 1      Filed 07/26/18
  B1040 (FORM 1040) (12/15)

                 BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES
NAME OF DEBTOR                                  BANKRUPTCY CASE NO.
Lite Solar Corp.                                2:16-bk-19896-BB
DISTRICT IN WHICH CASE IS PENDING                                      DIVISION OFFICE                    NAME OF JUDGE
Central District of California                                         Los Angeles                        Bluebond
                                       RELATED ADVERSARY PROCEEDING (IF ANY)
PLAINTIFF                                       DEFENDANT                                                 ADVERSARY
                                                                                                          PROCEEDING NO.

DISTRICT IN WHICH ADVERSARY IS PENDING                                 DIVISION OFFICE                    NAME OF JUDGE

SIGNATURE OF ATTORNEY (OR PLAINTIFF)




/s/ Leslie Cohen
DATE                                                                   PRINT NAME OF ATTORNEY (OR PLAINTIFF)
7/26/18                                                                Leslie A. Cohen




                                                          INSTRUCTIONS

           The filing of a bankruptcy case creates an “estate” under the jurisdiction of the bankruptcy court which consists of
 all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
 jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may be
 lawsuits concerning the debtor’s discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary
 proceeding.

          A party filing an adversary proceeding must also must complete and file Form 1040, the Adversary Proceeding
 Cover Sheet, unless the party files the adversary proceeding electronically through the court’s Case Management/Electronic
 Case Filing system (CM/ECF). (CM/ECF captures the information on Form 1040 as part of the filing process.) When
 completed, the cover sheet summarizes basic information on the adversary proceeding. The clerk of court needs the
 information to process the adversary proceeding and prepare required statistical reports on court activity.

           The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings
  or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-
  explanatory, must be completed by the plaintiff’s attorney (or by the plaintiff if the plaintiff is not represented by an
  attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

  Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.

  Attorneys. Give the names and addresses of the attorneys, if known.

  Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.

  Demand. Enter the dollar amount being demanded in the complaint.

  Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the
  plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented by an
  attorney, the plaintiff must sign.




                                                                                                                    American LegalNet, Inc.
                                                                                                                    www.FormsWorkFlow.com
                                     Case 20-03032-tmb               Doc 1      Filed 07/26/18
 Attorney or Party Name, Address, Telephone & FAX                         FOR COURT USE ONLY
 Nos., State Bar No. & Email Address
 Leslie A. Cohen, Esq. (SBN: 93698)
  leslie@lesliecohenlaw.com
 J’aime K. Williams, Esq. (SBN 261148)
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 LESLIE COHEN LAW, PC
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 Facsimile: (310) 394-9280


 Attorney for Plaintiff

                                       UNITED STATES BANKRUPTCY COURT
                           CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION
                                                                             DIVISION

 In re:
 LITE SOLAR CORP.
                                                                          CASE NO.: 2:16-bk-19896-BB
                                                                          CHAPTER: 11
                                                                          ADVERSARY NO.:

                                                          Debtor(s).
LITE SOLAR CORP.




                                                      SUMMONS AND NOTICE OF STATUS
                                                          Plaintiff(s)
                    Versus                         CONFERENCE IN ADVERSARY PROCEEDING
 ENERGY WISE LIGHTING INC., an Oregon corporation,             [LBR 7004-1]
 PETER GREENBERG, an individual, and DOES 1-100




                                                      Defendant(s)
TO THE DEFENDANT: A Complaint has been filed by the Plaintiff against you. If you wish to defend against the
Complaint, you must file with the court a written pleading in response to the Complaint. You must also serve a copy of
your written response on the party shown in the upper left-hand corner of this page. The deadline to file and serve a
written response is                   . If you do not timely file and serve the response, the court may enter a judgment by
default against you for the relief demanded in the Complaint.

A status conference in the adversary proceeding commenced by the Complaint has been set for:

            Hearing Date:                                 Address:
            Time:                                            255 East Temple Street, Los Angeles, CA 90012
            Courtroom:                                       3420 Twelfth Street, Riverside, CA 92501
                                                             411 West Fourth Street, Santa Ana, CA 92701
                                                             1415 State Street, Santa Barbara, CA 93101
                                                             21041 Burbank Boulevard, Woodland Hills, CA 91367

          This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2016                                                       Page 1                                   F 7004-1.SUMMONS.ADV.PROC
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You must comply with LBR 7016-1, which requires you to file a joint status report and to appear at a status
conference. All parties must read and comply with the rule, even if you are representing yourself. You must cooperate
with the other parties in the case and file a joint status report with the court and serve it on the appropriate parties at least
14 days before a status conference. A court-approved joint status report form is available on the court’s website (LBR
form F 7016-1.STATUS.REPORT) with an attachment for additional parties if necessary (LBR form F 7016-
1.STATUS.REPORT.ATTACH). If the other parties do not cooperate in filing a joint status report, you still must file with
the court a unilateral status report and the accompanying required declaration instead of a joint status report 7 days
before the status conference. The court may fine you or impose other sanctions if you do not file a status report.
The court may also fine you or impose other sanctions if you fail to appear at a status conference.


                                                                                KATHLEEN J. CAMPBELL
                                                                                CLERK OF COURT




Date of Issuance of Summons and Notice of Status Conference in Adversary Proceeding:




                                                                                By:
                                                                                             Deputy Clerk




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                                       PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:



A true and correct copy (1) of the foregoing document entitled: SUMMONS AND NOTICE OF STATUS CONFERENCE
IN ADVERSARY PROCEEDING [LBR 7004-1] and (2) the accompanying pleading(s) entitled:
_________________________________________________________________________________________________
_________________________________________________________________________________________________
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
_______________, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:




                                                                                          Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) _______________, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.




                                                                                          Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                          Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


 Date                         Printed Name                                                    Signature



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